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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA
                                 Case No.: 1:21-cv-21400


 DALADIER BURGOS,

                Plaintiff,

 vs.

 BELLSOUTH TELECOMMUNICATIONS LLC,

                Defendant.


                               JOINT NOTICE OF SETTLEMENT

        Pursuant to S.D. Fla. L.R. 16.4 and 16.2(f)(2), Plaintiff Daladier Burgos and Defendant

 Bellsouth Telecommunications LLC hereby notify the Court that the Parties have reached an

 agreement to settle the entire case.

        The Parties request that all deadlines in this case be stayed for thirty (30) days for the

 Parties to prepare and execute a written settlement agreement, after which the Parties will file a

 Stipulation of Dismissal with Prejudice pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii).

 Dated: February 24, 2022.

  Respectfully submitted,


  By:/s/ Dana M. Gallup                                  By: /s/ Zahira D. Diaz-Vazquez

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  Attorneys for Plaintiff

                                CERTIFICATE OF SERVICE

        I hereby certify that on February 24, 2022, a copy of the foregoing was served on Parties

 through their counsel of record via this Court’s CM/ECF system.

                                                            /s/ Zahira D. Diaz-Vazquez
                                                            Zahira D. Díaz-Vázquez




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